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    9   Attorneys for Plaintiff HECTOR CASILLAS

   10                      UNITED STATES DISTRICT COURT
   11                    CENTRAL DISTRICT OF CALIFORNIA
   12

   13   HECTOR CASILLAS, on behalf of            Case No. 2:15-cv-04763-AG-(JEMx)
        himself and all others similarly
   14                                            SECOND AMENDED CLASS ACTION
        situated,                                COMPLAINT FOR RELIEF BASED
   15                                            ON:
                         Plaintiff,
   16                                            (1) Violation of the Computer Fraud
        v.                                       and Abuse Act (18 U.S.C. §1030 et seq.)
   17
        BERKSHIRE HATHAWAY
   18                                            (2) Violation of Unlawful Access to
        HOMESTATE COMPANIES, a
                                                 Stored Communications Act (18 U.S.C.
   19   Nebraska Corporation; CYPRESS
                                                 §2701 et seq.)
        INSURANCE COMPANY, a
   20   California Corporation; ZENITH           (3) Violation of the Electronic
   21   INSURANCE COMPANY, a                     Communications Privacy Act, 18 U.S.C.
        California Corporation; WILLIAM          §§2510 et seq.
   22   REYNOLDS, an individual; OLIVER
   23   GLOVER, an individual;                   (4) Invasion of Privacy (Public
        BROADSPIRE SERVICES, Inc. a              Disclosure of Private Facts)
   24   Delaware Corporation; HQSU SIGN-
        UP SERVICES, INC., a California          (5) Intentional Interference with
   25
        Corporation and DOES 1 to 10,            Prospective Economic Advantage
   26   inclusive,
                                                 (6) Violation of the California
   27                                            Computer Data Access and Fraud Act
                   Defendants.
   28                                            (Cal. Penal Code §502 et seq.)
                                                 1
                                      SECOND AMENDED COMPLAINT
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    1                                             (7) Violation of California Business
    2
                                                  and Professions Code §17200

    3                                             (8)    Conversion
    4

    5                                             (9)   Negligence

    6
                                                  (10) Violation of the California
    7                                              Confidentiality of Medical Information
    8                                             Act (Cal. Civ. Code §56, et seq.)

    9
                                                  (11) Violation of California Data
   10                                             Security and Breach Notification Act
   11                                             (Cal. Civ. Code §1798.80, et seq.)

   12                                             DEMAND FOR JURY TRIAL
   13                                             CLASS ACTION
   14
                            SECOND AMENDED COMPLAINT
   15

   16                                SUMMARY OF THE CASE
   17          1.    Defendants Berkshire Hathaway Homestate Companies (“Berkshire
   18
        Hathaway” or “BHHC”), Cypress Insurance Company (Cypress”) and Zenith
   19

   20   Insurance Company (“Zenith”) and the other named hacking defendants illegally
   21
        accessed and downloaded privileged and confidential litigation files of thousands of
   22
        individuals litigating cases against them. The hacking defendants stole these files
   23

   24   from servers used by law firms representing the individual litigants. BHHC, Cypress
   25
        and Zenith are major worker’s compensation insurance companies doing business in
   26
        California and nationwide and many of the files were for workers compensation
   27

   28   litigants.
                                                 -2-
                                     SECOND AMENDED COMPLAINT
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    1         2.     The defendants acted in complete disregard of constitutional and
    2
        statutory law and applicable ethical and moral standards. Their corrupt conduct
    3

    4
        evidenced a total disregard for fair play and disregard for the integrity of the judicial

    5   system.
    6
              3.     The hacking defendants are presently known to have hacked in excess of
    7

    8   32,000 litigation files.

    9         4.    Defendants’ illegal hacking of privileged documents undermines the
   10
        integrity of the judicial system which damages all Americans. The American
   11

   12   system of justice depends upon fair play in an impartial forum. A fair and

   13   impartial forum for rich and poor alike is central feature of the American way of
   14
        life and is important to our national reputation. This lawsuit is directed against
   15

   16   those powerful insurance companies and their co-conspirators who because of

   17   their immense wealth and power acted as if they were above the law and in total
   18
        disdain of our cherished concept of fair play in an impartial forum. The hacking
   19

   20   defendants each conspired with one another, and aided and abetted one another, to
   21   break the laws set forth in this Complaint regarding computer security,
   22
        confidential information and privacy.
   23

   24         5.    Plaintiff is a client of the law firm of Reyes & Barsoum LLP who was
   25   pursuing a worker's compensation lawsuit on his behalf. He brings this
   26
        proposed nationwide class action lawsuit on behalf of both Reyes & Barsoum clients
   27

   28   and other similarly situated clients whose privileged litigation files, with personal
                                                   -3-
                                      SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1

    2
        information, have been compromised as a result of the intentional data breach by

    3   defendants. Plaintiff seeks compensatory, statutory and punitive damages, as well as
    4
        injunctive relief requiring defendants to refrain from all illegal computer intrusions.
    5

    6                                    PARTIES

    7         6.     Plaintiff Hector Casillas is a resident of Los Angeles County, California.
    8
              7.     Defendant Berkshire Hathaway is a Nebraska corporation with its
    9
   10   principal place of business in Omaha, Nebraska.

   11         8.     Defendant Cypress Insurance Company (“Cypress”) is a California
   12
        corporation and a wholly-owned subsidiary of Berkshire Hathaway Homestate
   13

   14   Companies. Its principal place of business is San Francisco, California.

   15         9.    Defendant Zenith Insurance Company (“Zenith”) is a California
   16
        corporation with its principal place of business in Woodland Hills, California.
   17

   18         10.    Defendant Broadspire Services, Inc. (“Broadspire”) is a Delaware

   19   Corporation with its principal place of business in Atlanta, Georgia.
   20
              11.     Defendant William Reynolds (“Reynolds”) is an investigator who at
   21

   22   one time was employed by Defendant Berkshire Hathaway and continues to hold
   23   himself out as an employee and/or agent of Berkshire Hathaway. He is a resident of
   24
        the State of California.
   25

   26         12.     Defendant Oliver Glover (“Glover”) is an employee of Zenith
   27   Insurance Company and is a resident of the State of California.
   28
                                                  -4-
                                     SECOND AMENDED COMPLAINT
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    1         13.    Defendants Berkshire Hathaway, Cypress, Zenith, Broadspire,
    2
        Reynolds, and Glover are collectively referred to as the “Hacking Defendants”.
    3

    4
              14.    Defendant HQSU Sign Services, Inc. is a California corporation with its

    5   principal place of business located at 1609 East Palmdale Blvd. Suite D,
    6
        Palmdale, California 93550. HQSU’s president and registered agent for service of
    7

    8   process is Carlos Humberto Morales. At all times relevant to this Complaint, HQSU

    9   maintained substantial and continuous contacts in the State of California and within
   10
        the Central District in particular, and the acts and omissions giving rise to the claims
   11

   12   against HQSU arise out of the acts and omissions occurring within the jurisdiction

   13   and venue of this Court.
   14
              15. Plaintiff does not know the true names and capacities of defendants sued
   15

   16   herein as Does 1 to 10, inclusive, and therefore sues these defendants by such

   17   fictitious names. Plaintiff will amend this complaint to allege their true names and
   18
        capacities when ascertained. However, on information and belief, Does 1 to 10
   19

   20   were/are the agents or employees or co-conspirators of each of the other
   21   defendants and are/were at all times relevant acting within the purpose and scope
   22
        of such agency, employment, or conspiracy.
   23

   24         16.    All of the defendants, named and unknown, are legally responsible
   25   either directly or vicariously (under theories of agency, conspiracy, or aiding and
   26
        abetting) for all of the illegal constitutional, statutory, and tortious conduct alleged
   27

   28   in this Complaint.
                                                   -5-
                                      SECOND AMENDED COMPLAINT
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    1                              JURISDICTION AND VENUE
    2
              17.     Jurisdiction is proper in this court because this litigation arises under
    3

    4
        federal law, including 18 U.S.C. §1030, et seq. (“Computer Fraud and Abuse

    5   Act”), 18 U.S.C. §2701, et seq. (“Stored Communication Act”), and 18 U.S.C.
    6
        §§2510, et seq. (“Electronic Communications Privacy Act”). The Court has
    7

    8   jurisdiction over this action under 28 U.S.C. § 1331 (federal question). The court

    9   also has jurisdiction over the state claims pursuant to its pendant and ancillary
   10
        jurisdiction power.
   11

   12         18.    This Court has personal jurisdiction over defendants as they each are

   13   registered to conduct business in California, have sufficient minimum contacts in
   14
        California, or otherwise intentionally avail themselves of the markets within
   15

   16   California, through the promotion, sale, marketing and distribution of their

   17   products in California, to render the exercise of jurisdiction by this Court proper
   18
        and necessary. Defendants Cypress and Zenith are incorporated in California.
   19

   20         19.    Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(b) and
   21   1391(c) because Plaintiff resides in this District, Defendants conduct substantial
   22
        business in this District, and a substantial part of the events giving rise to plaintiff’s
   23

   24   claims occurred in this District.
   25                         COMMON FACTUAL ALLEGATIONS
   26
                     Plaintiff’s Electronically-Stored, Privileged Litigation Files
   27

   28         20.    Defendants BHHC, Cypress, and Zenith are among the largest providers
                                                    -6-
                                      SECOND AMENDED COMPLAINT
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    1

    2
        of worker’s compensation insurance in the United States. Together they provide

    3   a significant percentage of the worker’s compensation insurance in California.
    4
        These firms hired investigators who hacked into and stole stored confidential
    5

    6   attorney-client files including files in which they were the insurer. Thousands

    7   of files have been pilfered and used by defendants in contravention of federal and
    8
        state statutory law, case law, and standards of professional conduct.
    9
   10         21.       The law firm of Reyes & Barsoum LLP specializes in worker’s

   11   compensation, normally representing injured workers. Reyes & Barsoum contracted
   12
        with HQSU to provide administrative services for clients unable to come to the
   13

   14   office due to physical, financial, or transportation limitations. HQSU maintained the

   15   servers on which personal client data was stored and on which the litigation files
   16
        were stored.
   17

   18         22.      HQSU is paid a pre-negotiated flat fee. HQSU represented to clients

   19   and agreed that it would keep clients’ – including Plaintiff’s – information secure
   20
        and confidential.
   21

   22         23.      In the case of Reyes & Barsoum clients, the accepting attorney
   23   informs the client that they will be contacted by HQSU for the purpose of signing
   24
        a retainer agreement and filling out an In-Take Packet with personal information.
   25

   26   HQSU then uploads the documents to its username and password-protected
   27   website. The information on this website is only available to Reyes & Barsoum
   28
                                                  -7-
                                      SECOND AMENDED COMPLAINT
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    1   attorneys following verification of username and password. Reyes & Barsoum
    2
        may download existing documents, upload additional documents, and leave notes
    3

    4
        and comments related to the cases in the files stored for it by HQSU. This practice is

    5   used by all the other attorneys using the HQSU services.
    6
              24.      Unbeknownst to Reyes & Barsoum or Plaintiff, and contradicting
    7

    8   HQSU’s assurances to the contrary, HQSU failed to provide adequate or responsible

    9   protections against unlawful access to the confidential and privileged it stored.
   10
        Moreover, following the other Defendants’ unlawful accessing and converting the
   11

   12   data, as alleged below, HQSU failed to report the hacking activity to Plaintiff,

   13   Reyes & Barsoum, other law firms using its services or the approximately 33 000
   14
        class members which information was taken. In addition HQSU failed to inform law
   15

   16   enforcement or appropriate government oversight agencies.

   17         The Discovery of the Hacking Defendants’ Unlawful Computer Hacking
   18
              25.      The Hacking Defendants’ hacking of the HQSU files was first
   19

   20   suspected during an in-chambers hearing in a worker’s compensation case before
   21   Presiding Judge Paige Levy. The hearing involved defense motions to compel
   22
        further testimony of Applicant Hector Casillas and an HQSU employee, Chantelle
   23

   24   Obregon, on April 20, 2014 in the matter of Hector Casillas vs. Xeres Corp;
   25   Broadspire Claims Services, WCAB NO. ADJ903073. The case was being defended
   26
        by Knox Ricksen.
   27

   28         26.     At the in-chambers conference, Knox Ricksen’s attorneys revealed
                                                  -8-
                                     SECOND AMENDED COMPLAINT
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    1

    2
        they had Mr. Casillas’ attorney-privileged In-Take Packet which bore the name

    3   “ATTORNEY: Rony M. Barsoum, Esq.” at the top of the document’s first page as
    4
        well as the Reyes & Barsoum Retainer Agreement signed by Mr. Casillas.
    5

    6         27.     Judge Levy immediately asked Knox Ricksen’s attorney how he

    7   came into possession of Mr. Casillas’ In-Take packet. The attorney first responded
    8
        that it was obtained from the HQSU “website”. The attorney then changed his story
    9
   10   and told Judge Levy that Ms. Obregon, HQSU’s representative, had provided it to

   11   defendant. Finally, the attorney told Judge Levy that he “did not know”
   12
        where the privileged documents came from.
   13

   14         28.     Judge Levy conducted an in-camera review of the documents and

   15   determined that they were protected by the attorney-client privilege. Judge Levy
   16
        ordered Knox Ricksen to turn over the document to Reyes & Barsoum and
   17

   18   instructed Knox Ricksen’s attorneys that they were ethically required to conduct a

   19   diligent search and notify Reyes & Barsoum if there were additional copies of the
   20
        document and, if so, to turn them over to Reyes & Barsoum.
   21

   22         29.      At no time during the session with Judge Levy did the attorneys for
   23   Knox Ricksen inform Judge Levy or Reyes & Barsoum that Knox Ricksen was in
   24
        possession of tens of thousands of files of other attorney-client files.
   25

   26         30.     No additional files were returned to Reyes & Barsoum, as ordered by
   27   Judge Levy.
   28
                                                   -9-
                                      SECOND AMENDED COMPLAINT
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    1                Defendants’ Admitted Unlawful Downloading of
    2
                                  Thousands of Confidential Files
    3

    4
              31.    On or about November 2014, Jorge Reyes had a telephonic discussion

    5   with attorney Danowitz. During that conversation, attorney Danowitz
    6
        admitted that the Casillas In-Take Packet had been downloaded from the HQSU
    7

    8   website, along with thousands of other files, and further boasted that he even had a

    9   videotape of the method used to accessing the confidential documents from HQSU.
   10
              32.    Following this discussion, Knox Ricksen forbade its attorneys from
   11

   12   verbally communicating with Reyes & Barsoum and required that all

   13   communications be in writing.
   14
                     Defendants’ Conspiracy to Violate State and Federal
   15

   16                             Computer Security Laws

   17         33.     Defendants Reynolds and Glover are private investigators. Reynolds
   18
        was employed by and/or acted as an agent for BHHC, and continues to hold himself
   19

   20   out as employed by BHHC. Oliver Glover was and is employed by defendant
   21   Zenith.
   22
              34.    At the direction of BHHC and Zenith and possibly others presently
   23

   24   unknown, Reynolds and Glover intentionally implemented a scheme to wrongfully
   25   engage in a continuous pattern of cyberattacks over a period of years to access,
   26
        obtain, retain, and use thousands of attorney-client privileged documents of
   27

   28   claimants and their attorneys in litigation in order to gain a litigation advantage and
                                                  - 10 -
                                     SECOND AMENDED COMPLAINT
                                                                       2:15-cv-04763-AG-(JEMx)
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    1

    2
        save huge sums in judgments or settlements. Defendant Broadspire was Plaintiff’s

    3   workers compensation insurer and had possession of his intake packet.
    4
              35.    In a Declaration provided by Reynolds in Casillas v. Xerxes Corp., et
    5

    6   al., California Workers Compensation Appeals Board Case No. AD 19030735,

    7   Reynolds admits that he is a private investigator, and that he and Glover
    8
        participated in downloading from HQ Sign Up “approximately 32,500 intake
    9
   10   sheets”.

   11         36.    Defendant Glover likewise admitted in a sworn deposition in Reyes &
   12
        Barsoum, LLP v. Knox Ricksen, LLP, et al., Case No. BC 572975 (Superior Court of
   13

   14   California, County of Los Angeles), that he had accessed HQSU’s server and

   15   downloaded over 32,000 workers’ compensation files. In that deposition testimony,
   16
        Glover testified that he first became aware of HQSU in October of 2012, and that he
   17

   18   was unable to access the server at that time.

   19         37.    Glover went on to testify that Defendant Zenith’s counsel was aware of
   20
        and approved his continued attempts to access the site. With the assistance of
   21

   22   Zenith’s information technology department, Glover was able to unlawfully access
   23   and download files some 500 times in 2012 and 2013 and 2014.
   24
              38.    The unlawful accessing and downloading of Plaintiff’s and others’ files
   25

   26   even took place prior to any litigation being filed, and was entirely independent of
   27   any litigation or other protected activity.
   28
                                                      - 11 -
                                      SECOND AMENDED COMPLAINT
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    1         39.        On information and belief, all defendants have conspired with one
    2
        another, and aided and abetted one another, to hack the litigation files of Plaintiff and
    3

    4
        those of the proposed class members. The cyberattacks were planned and executed

    5   by all defendants and the wrongfully obtained privileged information was
    6
        compromised by each of them to the detriment of plaintiff and the proposed class
    7

    8   members.

    9         40.        On November 24, 2014, in a second hearing regarding Mr. Casillas,
   10
        attorney Danowitz again admitted to downloading and possessing over 33,000
   11

   12   attorney files and documents, including those of plaintiff and the proposed class

   13   members. Moreover, attorney Danowitz now admitted to being in possession of a
   14
        thumb drive containing the 33,000 files.
   15

   16         41.        During this second meeting on November 24, 2014, Danowitz showed

   17   a video he recorded demonstrating defendant Reynolds illegally downloading the
   18
        privileged documents from the HQSU website.
   19

   20         42.    The video clearly displays the illegal cyberattack, which Plaintiff’s
   21   experts have identified as a directory traversal attack. Directory traversal is an
   22
        HTTP exploit which allows attackers to access restricted directories and execute
   23

   24   commands outside of the web server’s root directory.
   25         43.    Danowitz admitted that this conduct was intentional and not inadvertent
   26
        or accidental.
   27

   28         44.    Defendants each conspired with one another, and aided and abetted one
                                                   - 12 -
                                       SECOND AMENDED COMPLAINT
                                                                       2:15-cv-04763-AG-(JEMx)
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    1

    2
        another, to unlawfully obtain, publish and use the illegally obtain confidential files

    3   of plaintiff and those similarly situated to obtain an advantage in litigation and to
    4
        diminish the financial exposure of the named defendant insurance companies.
    5

    6         45.      The Hacking Defendants, and each of them, knew that they were

    7   engaged in tortious and criminal conduct in furtherance of their conspiracy. Each
    8
        knew that members of the conspiracy were illegally obtaining confidential files
    9
   10   and holding them for use against adverse litigants.

   11         46.      Each of the hacking defendants, who are each co-conspirators, aided and
   12
        abetted the commission of the computer crimes enumerated in this Complaint as well
   13

   14   as the commission of intentional torts also enumerated in this Complaint. They each

   15   provided substantial assistance or encouragement to the other co-conspirators to
   16
        commit theft of confidential files stored on a computer system and to then
   17

   18   distribute those files for their commercial advantage.

   19                                COUNT ONE
   20     (Violation of the Computer Fraud and Abuse Act, 18 U.S.C. § 1030,et seq.)
   21                              (Against All Hacking Defendants)
   22
              47.      Plaintiff incorporates each and every allegation of the foregoing
   23

   24   paragraphs as if fully set forth herein, and specifically repeats and re-alleges the
   25   allegations.
   26
              48.      The computers, computer networks, and computer services which stored
   27

   28   Plaintiff’s personal and privileged information are “protected computers” as
                                                  - 13 -
                                      SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1

    2
        defined in 18 U.S.C. § 1030(e)(2), and contain private and confidential

    3   information which affects interstate commerce.
    4
              49.     Federal law prohibits anyone from “intentionally accesses[ing] a
    5

    6   computer without authorization or exceeds authorized access, and thereby obtains

    7   information contained in a financial record of a financial institution.” 18 U.S.C. §
    8
        1030(a)(2).
    9
   10         50.     As alleged in detail above, the Hacking Defendants intentionally and

   11   without authorization accessed Plaintiff’s personal and confidential information on
   12
        those protected computers and servers and obtained confidential information, in
   13

   14   violation of 18 U.S.C. § 1030(a)(2)(C).

   15         51.     The Hacking Defendants’ unlawful conduct has caused Plaintiff to
   16
        suffer substantial loss or damages in an amount to be proven at trial but which during
   17

   18   a one-year period aggregates to at least $5,000, and Defendants’ conduct causes a

   19   threat to public safety. 18 U.S.C. §1030 (a)(5)(A), (B)(i) and (iv), (C).
   20
              52.     The Hacking Defendants’ activity occurred within the last two (2) years
   21

   22   from the initiation of this litigation and constitutes a violation of the Computer Fraud
   23   and Abuse Act, 18 U.S. C. § 1030(g), and Plaintiff is entitled to damages and
   24
        injunctive and equitable relief against Defendants under the Act.
   25

   26         WHEREFORE, Plaintiff respectfully requests that this Court:
   27         (a) Enter judgment in favor of Plaintiff and against the Hacking Defendants in
   28
                                                  - 14 -
                                     SECOND AMENDED COMPLAINT
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    1   an amount sufficient to compensate Plaintiff for his actual damages;
    2
              (b) Afford Plaintiff a trial by jury;
    3

    4
              (c) Enjoin the Hacking Defendants from accessing without authorization

    5   HQSU’s computers and Plaintiff’s electronic information;
    6
              (d) Destroy or return to Plaintiff any unlawfully obtained information; and
    7

    8         (e) Such other and further relief that this Court deems just and proper.

    9                                 COUNT TWO
   10   (Violation of the Unlawful Access to Stored Communications Act, 18 U.S.C. §
        2701, et seq.)
   11

   12                               (Against All Hacking Defendants)

   13         53.      Plaintiff incorporates each and every allegation of the foregoing
   14
        paragraphs as if fully set forth herein, and specifically repeats and re-alleges the
   15

   16   allegations.

   17         54.      The federal Stored Communications Act (“SCA”) broadly defines an
   18
        “electronic communication” as “any transfer of signs, signals, writing, images,
   19

   20   sounds, data, or intelligence of any nature transmitted in whole or in part by a wire,
   21   radio, electromagnetic, photoelectronic or photooptical system that affects interstate
   22
        or foreign commerce . . .” 18 U.S.C. § 2711(1); 18 U.S.C. § 2510(12).
   23

   24         55.      Pursuant to the SCA, “electronic storage” means any "temporary storage
   25   of a wire or electronic communication incidental to the electronic transmission
   26
        thereof.” 18 U.S.C. § 2711(1); 18 U.S.C. § 2510(17)(A). This type of electronic
   27

   28   storage includes communications in intermediate electronic storage that have not yet
                                                      - 15 -
                                       SECOND AMENDED COMPLAINT
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    1   been delivered to their recipient.
    2
              56. Congress enacted the SCA to prevent “unauthorized persons deliberately
    3

    4
        gaining access to, and sometimes tampering with, electronic or wire communications

    5   that are not intended to be available to the public.” Senate Report No. 99-541, S.
    6
        REP. 99-541, 35, 1986 U.S.C.C.A.N. 3555, 3589.
    7

    8         57.    As such, the SCA mandates, among other things, that it is unlawful for a

    9   person to obtain access to stored communications on another’s computer system
   10
        without authorization. 18 U.S.C. § 2701(a).
   11

   12         58.    The Hacking Defendants violated 18 U.S.C. § 2701(a)(1) by

   13   intentionally accessing Plaintiff’s communications without authorization and
   14
        obtaining and/or altering authorized access to a wire or electronic communication
   15

   16   while in electronic storage, as alleged in detail above.

   17         59.    The Hacking Defendants violated 18 U.S.C. § 2701(a)(2) because they
   18
        intentionally exceeded authorization to access Plaintiffs’ communications and
   19

   20   obtained, altered, or prevented authorized access to a wire or electronic
   21   communication while in electronic storage.
   22
              60.    As a result of the Hacking Defendants’ conduct described herein, and its
   23

   24   violation of § 2701, Plaintiff has suffered substantial injuries and damage.
   25         WHEREFORE, Plaintiff respectfully requests that this Court:
   26
              (a) Enjoin the Hacking Defendants’ conduct described herein;
   27

   28         (b) Award the maximum statutory and punitive damages available under 18
                                                  - 16 -
                                     SECOND AMENDED COMPLAINT
                                                                      2:15-cv-04763-AG-(JEMx)
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    1   U.S.C. § 2707; and
    2
              (c) Such other and further relief that this Court deems just and proper.
    3

    4                                  COUNT THREE
        (Violation of the Electronic Communications Privacy Act, 18 U.S.C.§ 2510, et
    5   seq.)
    6
                                    (Against All Hacking Defendants)
    7

    8         61.      Plaintiff incorporates each and every allegation of the foregoing

    9   paragraphs as if fully set forth herein, and specifically repeats and re-alleges the
   10
        allegations.
   11

   12         62.      The Electronic Communications Privacy Act,18 U.S.C. § 2510et seq.

   13   (“ECPA”) defines “electronic communications system” as any wire, radio,
   14
        electromagnetic, photooptical or photoelectronic facilities for the transmission of
   15

   16   wire or electronic communication, and any computer facilities or related electronic

   17   equipment for the electronic storage of such communications. 18 U.S.C. § 2510(14).
   18
              63.      The ECPA broadly defines the “contents” of a communication, when
   19

   20   used with respect to any wire, oral, or electronic communications, to include any
   21   information concerning the substance, purport, or meaning of that communication.
   22
        18 U.S.C. § 2510(8). “Contents,” when used with respect to any wire or oral
   23

   24   communication, includes any information concerning the identity of the parties to
   25   such communication or the existence, substance, purport, or meaning of that
   26
        communication.
   27

   28         64.      The Hacking Defendants violated 18 U.S.C. § 2511(1)(a) by
                                                   - 17 -
                                       SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1   intentionally accessing, intercepting, and converting Plaintiff’s wire and/or electronic
    2
        communications to, from, and within HQSU’s computers and servers, as alleged in
    3

    4
        detail above.

    5         65.    The Hacking Defendants also violated 18 U.S.C. § 2511(1)(d) by
    6
        intentionally using, and endeavoring to use the contents of Plaintiff’s wire and/or
    7

    8   electronic communications to profit from their unauthorized and unlawful activities.

    9         66.    The Hacking Defendants intentionally obtained and/or intercepted, by
   10
        device or otherwise, these wire and/or electronic communications, without the
   11

   12   knowledge, consent or authorization of Plaintiff.

   13         67.    Plaintiff suffered harm as a result of the Hacking Defendants’ violations
   14
        of the ECPA.
   15

   16         WHEREFORE, Plaintiff respectfully requests that this Court:

   17         (a) Grant preliminary, equitable and declaratory relief as may be appropriate;
   18
              (b) Award the sum of the actual damages suffered and the profits obtained by
   19

   20   the Hacking Defendants as a result of their unlawful conduct, or statutory damages
   21   as authorized by 18 U.S.C. § 2520(2)(B), whichever is greater; and
   22
              ( c) Award punitive damages and reasonable costs and attorneys’ fees.
   23

   24                                     COUNT FOUR
                        (Invasion of Privacy – Public Disclosure of Private Facts)
   25

   26                               (Against All Hacking Defendants)
   27         68.    Plaintiff incorporates each and every allegation of the foregoing
   28
                                                  - 18 -
                                       SECOND AMENDED COMPLAINT
                                                                       2:15-cv-04763-AG-(JEMx)
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    1   paragraphs as if fully set forth herein, and specifically repeats and re-alleges the
    2
        allegations.
    3

    4
              69.      As alleged in detail above, the Hacking Defendants published or caused

    5   to be published to the public private facts concerning Plaintiff, including personal
    6
        and medical information.
    7

    8         70.      The published facts were not of legitimate public concern, and the

    9   publication would be offensive and objectionable to a reasonable person and was
   10
        offensive and objectionable to Plaintiff.
   11

   12         71.      The Hacking Defendants acted with reckless disregard for the fact that a

   13   reasonable person would find the invasion highly offensive.
   14
              WHEREFORE, Plaintiff respectfully requests that this Court:
   15

   16         (a) Enter judgment in favor of Plaintiff on the claim of invasion of privacy;

   17         (b) Award such compensatory as may be proven at trial;
   18
              ( c) Award punitive damages in an amount sufficient to punish and deter the
   19

   20   Hacking Defendants in the future; and
   21         (d) Award such other and further relief as is just and appropriate.
   22
                                       COUNT FIVE
   23   (Violation of the California Computer Data Access and Fraud Act, Cal. Penal
   24   Code § 502, et seq.)
   25                               (Against All Hacking Defendants)
   26
              72.      Plaintiff incorporates each and every allegation of the foregoing
   27

   28   paragraphs as if fully set forth herein, and specifically repeats and re-alleges the
                                                    - 19 -
                                       SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1   allegations.
    2
              73.      Plaintiff is the owner and rights, title, and interest in certain data
    3

    4
        contained in the computer systems and servers owned and operated by HQSU

    5   pursuant to § 502(b)(3), § 502(b)(6) and § 502(2)(1).
    6
              74.      Defendants have violated California’s Computer Crime law, including
    7

    8   but not limited to § 502(c)(1)(B), by knowingly accessing and without permission

    9   obtaining property or data.
   10
              75.      Defendants have violated California’s Computer Crime law, including
   11

   12   but not limited to § 502(c)(2), and (7) by knowingly accessing and without

   13   permission making use of data from a computer, computer system, or computer
   14
        network.
   15

   16         76.      Defendants have violated California’s Computer Crime law, including

   17   but not limited to § 502(c)(4), by knowingly accessing and without permission
   18
        obtaining property or data.
   19

   20         WHEREFORE, Plaintiff respectfully requests that this Court:
   21         (a) Enter judgment in favor of Plaintiff on the claim of Violation of the
   22
        California Computer Data Access and Fraud Act, Cal. Penal Code § 502, et seq.
   23

   24   pursuant to § 502(e)(1)-(2);
   25         (b) Award such compensatory as may be proven at trial;
   26
              ( c) Enjoin any further violations of the California Computer Data Access
   27

   28   and Fraud Act;
                                                     - 20 -
                                        SECOND AMENDED COMPLAINT
                                                                           2:15-cv-04763-AG-(JEMx)
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    1         (d) Award attorney’s fees;
    2
              (e) Order that Defendants forfeit all data owned by Plaintiff unlawfully
    3

    4
        obtained by Defendants; and

    5   (f) Award such other and further relief as is just and appropriate.
    6
                                       COUNT SIX
    7         (Violation of California Business and Professions Code § 17200)
    8
                                    (Against All Hacking Defendants)
    9
   10         77.      Plaintiff incorporates each and every allegation of the foregoing

   11   paragraphs as if fully set forth herein, and specifically repeats and re-alleges the
   12
        allegations.
   13

   14         78.      This cause of action is brought pursuant to California Unfair

   15   Competition Law at Business & Professions Code § 17200, et seq.
   16
              79.      Defendants’ conduct constitutes unfair, unlawful and/or fraudulent
   17

   18   business practices within the meaning of Business & Professions Code § 17200.

   19         WHEREFORE, Plaintiff respectfully requests that this Court:
   20
              (a) Pursuant to Business & Professions Code § 17203, Defendants, and each of
   21

   22   them, be ordered to make restitution and disgorge all earnings, profits,
   23   compensation, benefits and other ill-gotten gains obtained by Defendants as a result
   24
        of Defendants’ conduct in violation of Business & Professions Code § 17200, et seq.;
   25

   26         (b) Pursuant to Business & Professions Code § 17204, enjoin Defendants, and
   27   each of them, from continuing to engage in the acts as set forth in this Complaint,
   28
                                                   - 21 -
                                       SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1   which acts constitute violations of Business & Professions Code § 17200 et seq.
    2
        Plaintiff will be irreparably harmed if such an order is not granted; and
    3

    4
              ( c) Award such other and further relief as the Court deems just and proper.

    5                                      COUNT SEVEN
    6                                       (Conversion)

    7                               (Against All Hacking Defendants)
    8
              80.      Plaintiff incorporates each and every allegation of the foregoing
    9
   10   paragraphs as if fully set forth herein, and specifically repeats and re-alleges the

   11   allegations.
   12
              81.      As alleged in detail herein, Plaintiff owned the privileged and
   13

   14   confidential information and data relating to his workers compensation claim.

   15         82.      Defendants intentionally and substantially interfered with Plaintiff’s
   16
        property by unlawfully accessing and downloading copies of that data.
   17

   18         83.      Plaintiff did not consent to Defendants’ activity, as alleged herein.

   19         84.      Plaintiff was injured as a result of Defendants’ unlawful conversion in
   20
        an amount to be proven at trial.
   21

   22         WHEREFORE, Plaintiff respectfully requests that this Court:
   23         (a) Award compensatory general and special damages pursuant to Cal. Civ.
   24
        Code § 3336;
   25

   26         (b) Award Plaintiff’s costs and fees, including attorney’s fees, in bringing this
   27   action; and
   28
                                                    - 22 -
                                       SECOND AMENDED COMPLAINT
                                                                         2:15-cv-04763-AG-(JEMx)
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    1         ( c) Award such other and further relief as the Court deems just and proper.
    2
                                            COUNT EIGHT
    3                                        (Negligence)
    4
                                             (Against HQSU)
    5

    6         85.      Plaintiff incorporates each and every allegation of the foregoing

    7   paragraphs as if fully set forth herein, and specifically repeats and re-alleges the
    8
        allegations.
    9
   10         86.      Defendant HQSU owed a duty to Plaintiff to exercise reasonable care in

   11   obtaining, securing, safeguarding, and protecting Plaintiff’s confidential and
   12
        privileged information in its possession and to prevent it from being compromised,
   13

   14   accessed, stolen, and used by unauthorized persons.

   15         87.      This duty included, among other things, designing and maintaining a
   16
        security system that ensured Plaintiff’s data was adequately secured and protected.
   17

   18   HQSU further owed Plaintiff a duty to implement processes that detected breaches of

   19   its security system in a timely manner and to timely act upon security breaches,
   20
        including notifying Plaintiff that his private data had been compromised.
   21

   22         88.      HQSU owe Plaintiff a duty of care to because Plaintiff was a
   23   foreseeable and probable victim of any inadequate security practices. HQSU knew or
   24
        should have known it had inadequately safeguarded its network, yet failed to take
   25

   26   reasonable precautions against security breaches.
   27         89.      HQSU owed a duty to timely and accurately disclose to Plaintiff its
   28
                                                   - 23 -
                                       SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1   computer server had been or reasonably believed to have been compromised. Timely
    2
        disclosure was required, appropriate and necessary so that, among other things,
    3

    4
        Plaintiff could take appropriate measures to avoid identity theft or fraud.

    5          90.    Plaintiff relied on and entrusted HQSU with confidential, private, and
    6
        privileged information, and HQSU was in a position to prevent unlawful access to
    7

    8   that data through the use of adequate and responsible security measures.

    9          91.    HQSU had a duty to take reasonable measures to protect and safeguard
   10
        Plaintiff’s data.
   11

   12          92.    HQSU breached that duty by negligently, grossly negligently, and

   13   wantonly failing to take reasonable and adequate measure to secure and safeguard
   14
        Plaintiff’s confidential information, and then by failing to inform Plaintiff when it
   15

   16   became aware that the information had been compromised.

   17          93.    Plaintiff suffered and continues to suffer harm has a direct and
   18
        proximate result of HQSU’s negligence and gross negligence.
   19

   20          WHEREFORE, Plaintiff respectfully requests that this Court:
   21          (a) Award Plaintiff compensatory general and special damages;
   22
               (b) Award Plaintiff punitive damages as a result of HQSU’s gross negligence
   23

   24   and wanton conduct;
   25          (c) Award Plaintiff’s costs and fees, including attorney’s fees, in bringing this
   26
        action; and
   27

   28          ( d) Award such other and further relief as the Court deems just and proper.
                                                  - 24 -
                                      SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1                                 COUNT NINE
    2
        (Violation of California Confidentiality of Medical Information Act, Cal. Civ.
        Code§ 56, et seq.)
    3

    4                                     (Against HQSU)

    5          94.     Plaintiff incorporates each and every allegation of the foregoing
    6
        paragraphs as if fully set forth herein, and specifically repeats and re-alleges the
    7

    8   allegations.

    9          95.     California Civil Code§ 56,etseq., known as the Confidentiality of
   10
        Medical Information Act (“Medical Information Act”), requires companies which
   11

   12   Receive medical information to establish appropriate procedures to ensure the

   13   Confidentiality and protection from unauthorized use and disclosure of that
   14
        information.
   15

   16          96.     At all relevant times, HQSU had a legal duty to protect the

   17   confidentiality of Plaintiff’s confidential and privileged information, which included
   18
        medical information.
   19

   20          97.     By failing to ensure adequate security systems were in place to Prevent
   21   access and disclosure of Plaintiff’s private medical information without written
   22
        authorization, HQSU violated the Medical Information Act and its legal duty to
   23

   24   protect the confidentiality of such information.
   25          98.     Pursuant to Cal. Civ. Code § 56.36, Plaintiff is entitled to nominal
   26
        damages and statutory damages of $1,000, as well as Plaintiff’s actual damages as
   27

   28   proven at trial.
                                                   - 25 -
                                       SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1         WHEREFORE, Plaintiff respectfully requests that this Court:
    2
              (a) Award Plaintiff nominal and statutory damages of $1000.00;
    3

    4
              (b) Award Plaintiff compensatory damages for actual harm suffered;

    5         (c) Award Plaintiff’s costs and fees, including attorney’s fees, in bringing this
    6
        action; and
    7

    8         (d) Award such other and further relief as the Court deems just and proper.

    9                                  COUNT TEN
   10   (Violation of California Data Security and Breach Notification Act, Cal. Civ.
        Code § 1798.80, et seq.)
   11

   12                                      (Against HQSU)
              99.      Plaintiff incorporates each and every allegation of the foregoing
   13

   14   paragraphs as if fully set forth herein, and specifically repeats and re-alleges the

   15   allegations.
   16
              100. The California Data Security and Breach Notification Act, Cal. Civ.
   17

   18   Code § 1798.80, et seq. (the “Data Security Act”) provided, at the time relevant to

   19   the acts and omissions in this Complaint, that businesses which hold private and
   20
        confidential information of California residents must implement and maintain
   21

   22   reasonable security measures to protect personal data about those residents. Id., §
   23   1798.81.5.
   24
              101. The personal information protected by the Data Security Act includes a
   25

   26   resident’s first name or initial and last name, in combination with one or more of the
   27   following: (i) social security number; (ii) driver’s license; (iii) account number,
   28
                                                   - 26 -
                                       SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1   credit or debit card number in combination with any required security code, access
    2
        code or password that would permit access to an individual’s financial account; or
    3

    4
        (iv) medical information – i.e., individually identifiable information about an

    5   individual’s medial history, medical treatment or diagnosis by a health care
    6
        professional.
    7

    8         102. In addition to requiring adequate security measures, the Act also

    9   requires that the affected resident be notified in the event of a data security breach.
   10
              103. HQSU violated each of these provisions by failing to provide adequate
   11

   12   security measures and failing to notify Plaintiff after learning that HQSU’s system

   13   had been breached and Plaintiff’s confidential information had been compromised.
   14
              WHEREFORE, Plaintiff respectfully requests that this Court:
   15

   16         (a) Award Plaintiff nominal and statutory damages of $1000.00;

   17         (b) Award Plaintiff compensatory damages for actual harm suffered;
   18
              (c) Award Plaintiff’s costs and fees, including attorney’s fees, in bringing this
   19

   20   action; and
   21         (d) Award such other and further relief as the Court deems just and proper.
   22
                                    CLASS ACTION ALLEGATIONS
   23

   24         104.      Plaintiff brings this action pursuant to Federal Rule of Civil Procedure
   25   23 on behalf of himself and the classes preliminarily defined as:
   26
                                          Nationwide Class
   27

   28         105.      Current and former persons whose legal files were unlawfully accessed
                                                   - 27 -
                                       SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1

    2
        and downloaded by Defendants.

    3         106.    Excluded from the proposed classes are anyone employed by counsel
    4
        for Plaintiff in this action and any Judge to whom this case is assigned, as well as his
    5

    6   or her staff and immediate family.

    7         107.    Plaintiff satisfies the numerosity, commonality, typicality, and
    8
        adequacy prerequisites for suing as a representative party pursuant to Rule 23.
    9
   10         108.    Numerosity. The proposed class consists of thousands of persons

   11   nationwide whose legal files were unlawfully and without authorization accessed and
   12
        downloaded by Defendants, including between 3000 to 5000 former and current
   13

   14   clients of Reyes & Barsoum, as well as tens of thousands of other individuals, who

   15   had their data stolen by defendants’ conduct as described above, making joinder of
   16
        each individual class member impracticable.
   17

   18         109.    Commonality. Common questions of law and fact exist for the

   19   proposed class’ claims and predominate over questions affecting only individual
   20
        class members. Common questions include:
   21

   22         a. Whether defendants violated the Computer Fraud and Abuse Act, 18
   23   U.S.C. §§1030 et seq.;
   24
              b. Whether defendants violated the Unlawful Access to Stored
   25

   26   Communications Act, 18 U.S.C. §§2701 et seq.;
   27         c. Whether defendants violated the California Business and Professions Code
   28
                                                  - 28 -
                                     SECOND AMENDED COMPLAINT
                                                                       2:15-cv-04763-AG-(JEMx)
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    1   §§17200, et seq.;
    2
              d. Whether defendants violated the California Computer Data Access and
    3

    4
        Fraud Act, California Penal Code §§502, et seq.;

    5         e. Whether defendants invaded the privacy of the class members;
    6
              f. Whether defendants intentionally interfered with the class members’
    7

    8   prospective economic advantages.

    9         110.    Typicality. Plaintiff’s claims are typical of the claims of the proposed
   10
        classes because, among other things, Plaintiff and class members sustained similar
   11

   12   injuries as a result of defendants’ wrongful conduct and their legal claims all arise

   13   from the intentional and illegal cyberattack on their legal files.
   14
              111.    Adequacy. Plaintiff will fairly and adequately protect the interests of
   15

   16   the classes. His interests do not conflict with class members’ interests and he has

   17   retained counsel experienced in complex class action and data privacy litigation to
   18
        vigorously prosecute this action on behalf of the classes.
   19

   20         112.    In addition to satisfying the prerequisites of Rule 23(a), Plaintiff
   21   satisfies the requirements for maintaining a class action under Rule 23(b)(3).
   22
        Common questions of law and fact predominate over any questions affecting only
   23

   24   individual class members and a class action is superior to individual litigation. The
   25   amount of damages available to individual plaintiffs is insufficient to make litigation
   26
        addressing defendants’ conduct economically feasible in the absence of the class
   27

   28   action procedure. Individualized litigation also presents a potential for inconsistent
                                                  - 29 -
                                      SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1

    2
        or contradictory judgments, and increases the delay and expense to all parties and the

    3   court system presented by the legal and factual issues of the case. By contrast, the
    4
        class action devise presents far fewer management difficulties and provides the
    5

    6   benefits of a single adjudication, economy of scale, and comprehensive supervision

    7   by a single court.
    8
              113.    In addition, class certification is appropriate under Rule 23(b)(1) or
    9
   10   (b)(2) because:

   11         a. The prosecution of separate actions by the individual members of the
   12
        proposed classes would create a risk of inconsistent or varying adjudication which
   13

   14   would establish incompatible standards of conduct for defendants;

   15         b. The prosecution of separate actions by individual class members would
   16
        create a risk of adjudications with respect to them which would, as a practical matter,
   17

   18   be dispositive of the interests of other class members not parties to the adjudications,

   19   or substantially impair or impede their ability to protect their interests; and
   20
              c. Defendants have acted or have refused to act on grounds that apply
   21

   22   generally to the proposed class, thereby making final injunctive relief described
   23   herein appropriate with respect to the proposed class as a whole.
   24
                                          PRAYER FOR RELIEF
   25

   26                                     (On All Causes of Action)
   27         WHEREFORE, Plaintiff prays that the Court:
   28
                                                   - 30 -
                                      SECOND AMENDED COMPLAINT
                                                                        2:15-cv-04763-AG-(JEMx)
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    1         1. Certify a nationwide class of Plaintiffs affected and injured by Defendants’
    2
        unlawful conduct as alleged herein;
    3

    4
              2. Enter judgment in favor of Plaintiff and against the Defendants.

    5         3. Declare that Defendants’ conduct has been willful and that Defendants have
    6
        acted with fraud, malice and oppression.
    7

    8         4. Enter a preliminary and permanent injunction enjoining Defendants and

    9   their officers, directors, principals, agents, servants, employees, successors, and
   10
        assigns, and all persons and entities in active concert or participation with them, from
   11

   12   engaging in any of the activity complained of herein or from causing any of the

   13   injury complained of herein and from assisting, aiding or abetting any other person
   14
        or business entity in engaging in or performing any of the activity complained of
   15

   16   herein or from causing any of the injury complained of herein.

   17         5. Enter a preliminary and permanent injunction prohibiting Defendants from
   18
        accessing, downloading, or otherwise using any data or information from HQSU’s
   19

   20   computer systems or any other system housing Plaintiff’s privileged and confidential
   21   material.
   22
              6. Enter judgment awarding Plaintiff actual damages from Defendants
   23

   24   adequate to compensate Plaintiff for Defendants’ activity complained of herein and
   25   for any injury complained of herein, including but not limited to interest and costs, in
   26
        an amount to be proven at trial.
   27

   28         7. Enter judgment in favor of Plaintiff disgorging Defendants’ profits.
                                                   - 31 -
                                     SECOND AMENDED COMPLAINT
                                                                       2:15-cv-04763-AG-(JEMx)
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    1

    2
              8. Enter judgment in favor of Plaintiff awarding enhanced, exemplary and

    3   special damages, in an amount to be proved at trial.
    4
              9. Enter judgment in favor of Plaintiff awarding attorneys’ fees and costs, and;
    5

    6         10. Order such other relief that the Court deems just and reasonable.

    7   Respectfully Submitted,
    8
        Dated: March 30, 2016
    9                                   LAW OFFICE OF MARK RAVIS & ASSOCIATES
   10
                                                    /s/ David Martin
   11                                         ________________________________
   12                                               David Martin
                                              Attorneys for Plaintiff & Proposed Class
   13

   14

   15

   16

   17

   18

   19

   20
   21

   22

   23

   24

   25

   26

   27

   28
                                                 - 32 -
                                    SECOND AMENDED COMPLAINT
                                                                     2:15-cv-04763-AG-(JEMx)
